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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                  Plaintiff,
                                                           Case No.: 4:23-CV-03560-KH
             v.

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                  Defendants.


                           [Proposed] First Amended Scheduling Order

      This scheduling order restates, amends, and supersedes the Court’s Order Setting

Scheduling, ECF No. 143.

   a) Initial disclosures are due on or before May 13, 2024.

   b) Discovery otherwise begins on or after May 13, 2024.

   c) The parties agree on the handling of electronically stored information, privileged

      information and a privilege log, if necessary.

   d) The parties agree to limitations as it relates to interrogatories, admissions, productions.

   e) The parties shall substantially complete document productions in response to each side’s

      May requests for production by December 16, 2024.

   f) Fact discovery closes April 30, 2025.

   g) The party bearing a burden on an issue must designate its expert and provide the expert’s

      initial report on or before June 25, 2025. A party may designate a rebuttal expert and

      provide a report solely to contradict or rebut an initial report on or before by August 20,

      2025. A party’s expert may reply to a rebuttal report on or before October 1, 2025. By

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      submitting a report on or before June 25, 2025, the party does not concede it bears the

      burden on an issue. Expert discovery closes October 22, 2025.

   h) Expedited responses are required on all pretrial motions.

   i) Discovery may be extended by agreement of the parties without Court intervention so

      long as the dispositive motion deadline and docket call dates are not changed without

      leave of Court.

   j) Dispositive motions must be filed on or before December 5, 2025; responses are due

      January 20, 2026; replies are due February 19, 2026. No sur-replies are permitted.

   k) Docket call is set May 20, 2026, at 11:30 a.m. to be finalized by separate order.


IT IS SO ORDERED.

SIGNED on September ___, 2024 at Houston, Texas.

                                                           ______________________________
                                                           Kenneth M. Hoyt
                                                           United States District Judge




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